
In re: Billy Ray Davidson applying for writs of mandamus and habeas corpus.
Writ granted. (See order attached).
The petition of the relator, m the above entitled and numbered case having been duly considered,
It is ordered that a writ of certiorari issue herein, directing the Honorable William T. Bennett, Judge of the Twentieth Judicial District Court for the Parish of West Feliciana, to transmit to the Supreme Court of Louisiana, on or before the 18th day of June, 1973, the record in duplicate, or a certified copy of the record in duplicate, of the proceedings complained of by the relator herein, to the end that the validity of said proceedings may be ascertained.
It is further ordered that the aforesaid Judge of said Court and the respondent through counsel shall show cause, in this court, on the date aforesaid, at 11 o’clock A.M., why the relief prayed for in the petition of the relator should not be granted.
